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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                         October 29, 2024
                                                 Western District of Texas                                 CLERK, U.S. DISTRICT COURT
                                                                                                           WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                        ac
                                                                                                       BY: ________________________________
                             v.                                 )                                                              DEPUTY
                                                                )       Case No. SA-24-MJ -1498
               Felix Rodriguez-Vargas (1)                       )
                    Edwin Pelayo (2)                            )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 28, 2024                            in the county of Bexar                              in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
                                           Trafficking in Firearms
18 U.S.C. § 933(a)(2) & (a)(3)
                                           Penalties: Up to 15 years imprisonment; a fine up to $250,000, or both
                                           such fine and imprisonment; mandatory $100 special assessment; and,
                                           maximum 3 years supervised release


         This criminal complaint is based on these facts:

See Attached Affidavit




              Continued on the attached sheet.

                                                                        THOMAS E FALLON Digitally signed by THOMAS E FALLON
                                                                                        Date: 2024.10.29 09:02:41 -05'00'
                                                                                           Complainant’s signature

                                                                        Thomas Fallon, Special Agent
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:    October 29, 2024
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Henry J. Bemporad, U.S. Magistrate Judge
                                                                                            Printed name and title
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


      I, Thomas Fallon, being first duly sworn, do depose and state the following:
       I am a Special Agent with the Department of Homeland Security, Homeland
Security Investigations (HSI), and I have been so employed since April 2007. I am
currently assigned to the Homeland Security Investigations (HSI) Special Agent in
Charge (SAC) in San Antonio, Texas. I am a graduate of the Federal Law Enforcement
Training Center and as a result of my training and experience as a Homeland Security
Investigations Agent, my duties include (but are not limited to) the investigation and
enforcement of Titles 8, 18, 19, 21, and 33 of the United States Code.
       Beginning on September 24, 2024, your affiant instructed an HSI confidential
informant (CI) to place an add on a website for the sale of an automatic machine gun that
belonged to the HSI. The automatic machine gun is an M134 belt fed rifle that weighs
approximately 100 pounds and is mounted on three-foot steel tripod. The automatic
machine gun belongs to HSI and was manufactured outside the state of Texas and
brought into Texas for the purpose of the sale. Your affiant asserts that based upon his
experience international firearms traffickers utilize these websites to purchase illegal
firearms.

        On October 18, 2024, the CI received a phone call from a Hispanic male, who was
later identified as Felix RODRIGUEZ-Vargas, inquiring about the automatic machine
gun. From October 18, 2024, through October 28, 2024, your affiant monitored cellular
phone calls to the CI, who was utilizing a consensual recorded line. During these calls,
RODRIGUEZ-Vargas told the CI he and “his brother”, who was later identified as Edwin
PELAYO, were interested in purchasing the automatic machine gun for $100,000 in
United States currency as long as they (RODRIGUEZ-Vargas and PELAYO) “can test it
out”. RODRIGUEZ-Vargas told the CI that he (RODRIGUEZ-Vargas) had to travel to
California to pick up $30,000 from “his brother” (PELAYO).

       During the negotiations for the firearms purchase, RODRIGUEZ-Vargas sent a
video of bulk United States currency wrapped in clear vacuum sealed bags to the CI to
prove he (RODRIGUEZ-Vargas) had the money.

       Based upon this information, law enforcement personnel set up a surveillance
operation on October 28, 2024, in San Antonio, Texas, in the Western District of Texas,
where all of the following took place as described.


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       On that same day, RODRIGUEZ-Vargas informed the CI that he was riding with
“his brother” (PELAYO) in a truck from Dallas to San Antonio to purchase the automatic
machine gun. During this operation, the CI and an HSI undercover (UC) agreed to meet
with RODRIGUEZ-Vargas and PELAYO at a Target parking lot in San Antonio, Texas
to make sure they (RODRIGUEZ-Vargas and PELAYO) had the money prior to taking
RODRIGUEZ-Vargas and PELAYO to the location of the automatic machine gun. At
approximately 1430 hours, law enforcement personnel observed a black GMC pickup
truck arrive at the Target parking lot occupied by PELAYO (driver) and RODRIGUEZ-
Vargas (passenger) and law enforcement personnel observed made contact with the CI
and an UC. During this meeting, RODRIGUEZ-Vargas and PELAYO showed the CI
and UC a boot box with United States Currency bundled in $10,000 bands. After this
meeting, RODRIGUEZ-Vargas and PELAYO agreed to follow the CI and UC to a
second location to inspect and purchase the automatic machine gun.

       At approximately 1443 hours, RODRIGUEZ-Vargas and PELAYO arrived at the
second location at the same time as the UC and CI. Law enforcement personnel observed
RODRIGUEZ-Vargas and PELAYO depart the GMC pickup truck and follow the UC
and CI to the rear of a U-Haul van, which was equipped with a covert audio/video
recording device, where the automatic machine gun was located inside. Law
enforcement personnel observed the CI and UC open the rear of the U-Haul van and
RODRIGUEZ-Vargas went inside the U-Haul van with the CI to inspect the automatic
machine gun while PELAYO and the UC watched. After RODRIGUEZ-Vargas tested
the automatic machine gun, RODRIGUEZ-Vargas and PELAYO agreed to pay for the
automatic machine gun. Law enforcement personnel observed PELAYO open the rear
driver’s side door to give the UC and CI the money.

       At this time, law enforcement personnel arrived in their government issued
vehicles and took RODRIGUEZ-Vargas and PELAYO into custody. A search of
RODRIGUEZ-Vargas and PELAYO revealed a loaded handgun in each of their waist
bands. A search of the GMC Sierra revealed a loaded short barrel semiautomatic rifle in
the passenger seat and an undetermined amount of United States bulk cash currency
inside the boot box.




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        Based upon the above information, your affiant believes that probable cause exists
to arrest ROGRIGUEZ-Vargas and PELAYO for violations of Title 18, United States
Code, Section 933, that is, Trafficking firearms.




                                         THOMAS E        Digitally signed by THOMAS E
                                                         FALLON
                                         FALLON
                                         _______________________________
                                                         Date: 2024.10.29 09:03:22 -05'00'


                                         Thomas Fallon
                                         Special Agent
                                         Homeland Security Investigations



Subscribed electronically and sworn telephonically on this 29th day of October 2024.




                                  _________________________________
                                  Honorable Henry J. Bemporad
                                  UNITED STATES MAGISTRATE JUDGE




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